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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 ROBERT L. WHITTAKER,                              )
                                                   )
                 Plaintiff,                        )
                                                   )
           v.                                      )          No. 4:21-CV-549 SRW
                                                   )
 SUSAN UNKNOWN,                                    )
                                                   )
                 Defendant.                        )

                                MEMORANDUM AND ORDER

       Before the Court is plaintiff’s motion for leave to file an amended complaint. In his motion

plaintiff asserts that he has found, through investigation, the proper name of defendant Dr. Susan

Unknown. Plaintiff claims that defendant’s proper name is Dr. Sharon Owens and that she is an

employee of Corizon, Inc.

       The Court will decline to file plaintiff’s document as an amended complaint, as it contains

claims and parties previously dismissed by this Court on November 17, 2021. See Docket Nos. 16

and 17. Instead, the Court will treat plaintiff’s filing as a motion to substitute party. To the extent

plaintiff is seeking to substitute Dr. Sharon Owens for Dr. Susan Unknown in this action, his

motion will be granted. The Court will also grant plaintiff’s request to reissue summons in the

proper party’s name.

       Accordingly,

       IT IS HEREBY ORDERED that plaintiff’s motion to file an amended complaint [ECF

No. 20] is DENIED, without prejudice.

       IT IS FURTHER ORDERED that plaintiff’s request to substitute parties [ECF NO. 20]

is GRANTED.
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       IT IS FURTHER ORDERED that the Clerk shall substitute Dr. Sharon Owens for Dr.

Susan Unknown in this action.

       IT IS FURTHER ORDERED that plaintiff’s request to issue summons for defendant Dr.

Sharon Owens, an employee of Corizon, Inc., in this action [ECF No. 20] is GRANTED.

       IT IS FURTHER ORDERED that the Clerk shall send a copy of the amended complaint

[ECF No. 15] and summons for defendant Dr. Sharon Owens, so plaintiff may effectuate service

of process on Dr. Sharon Owens, an employee of Corizon, Inc.

       IT IS FURTHER ORDERED that plaintiff shall cause service to be effectuated upon

defendant Dr. Sharon Owens no later than February 15, 2022.

       IT IS FURTHER ORDERED that in the absence of good cause shown, the failure to

timely serve Dr. Sharon Owens with summons and the amended complaint by February 15, 2022,

will result in a dismissal of plaintiff amended complaint, without prejudice.


       Dated this 3rd day of December, 2021.



                                                 /s/ Stephen R. Welby
                                                 STEPHEN R. WELBY
                                                 UNITED STATES MAGISTRATE JUDGE




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